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MIDDLE DIS'I`RIC'I` OF FLORIDA ;; ,.

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ANNETTE GILBERT, ' ‘
Plaimirf, cAsE No.; b'.\X' C\/‘ l¢\"<to/ OLL' A@N“`
-VS_
sUNTRUsT BANK,
Defendant. /

 

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, Annette Gilbert, by and through the undersigned
counsel, and sues Defendant, SUNTRUST BANK, and in support thereof respectfully
alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 el seq.
(“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 el seq.
(“FCCPA”).

INTRODUCTION

l. The TCPA was enacted to prevent companies like SunTrust Bank from
invading American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. A)')'ow Fin. Se)'vs., LLC, -US--, 132
S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

3. “Senator I~Iollings, the TCPA’s sponsor, described these calls as ‘the
*1256 scourge of modern civilization, they wake us up in the moming; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we want to

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rip the telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings
presumably intended to give telephone subscribers another option: telling the autodialers
to simply stop calling.” Osorio v. Sm!e Farm Bank, F.S.B., 746 F. 3d 1242 (l llh Cir.
2014).

4. According to the F ederal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. 'l`he FCC
received more than 215,000 TCPA complaints in 2014." Facl Shee!: Wheeler Proposal
to Protect and Empower Consumers Against Umvanled Robocalls, Tex!s to Wireless
Phones, Federal Communications Commission, (May 27, 2015),
http://transition.fcc.gov/Daily Releases/Daily Business/2015/db0527/DOC-
333676A1.pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Sevcnty-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of` the United States; and this action involves violations of

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47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and osorio v. szozo Form Bonk, F.S.B., 746 md 1242, 1249 (11‘*‘ cir. 2014)

8. The alleged violations described herein occurred in Seminole County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §l391(b)(2)
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FAC'I`UAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Seminole County, Florida

10. Plaintiff` is a “consumer” as defined in Florida Statute § 559.55(8).

l l. Plaintifl` is an “alleged debtor.”

12. Plaintif`f is the “called party.” See Bres[ow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11‘h Cir. 2014) and osorio v. Srozo Form Bonk, F.s.B., 746 F.3d 1242 (11‘h
Cir. 2014).

13. Defendant, SunTrust Bank (hereinafter “SunTrust”), is a corporation with
its principal place of business located at 303 Peachtree Street NE-STE 3600, Atlanta, GA
30308 and which conducts business in the State of Florida through its registered agent,
Corporation Service Company located at 1201 Hays St., Tallahassee, FL 32301.

14. The debt that is the subject matter of this Complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

15. SunTrust is a “creditor” as defined in Florida Statute §559.55(5)

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16. SunTrust called Plaintif`f` on Plaintiff’s cellular telephone approximately
one hundred (100) times in an attempt to collect a debt.

17. SUNTRUST BANK attempted to collect an alleged debt from Plaintif`f by
this campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintif`f’s cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(l) (hereinaf`ter “autodialer calls”). Plaintif`f` will testify that she knew it was an
autodialer because of the vast number of` calls she received and because she heard a pause
when she answered her phone before a voice came on the line from SunTrust.

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (321) ***-6364, and was the called party and recipient of Defendant’s calls.

20. SunTrust placed an exorbitant number of automated calls to Plaintif`f’s
cellular telephone (321) ***-6364 in an attempt to collect on a credit card debt.

21. On several occasions over the last four (4) years Plaintiff` instructed
SunTrust’s agent(s) to stop calling her cellular telephone.

22. On or about April 2017, Plaintiff answered an automated call to her
cellular telephone from SunTrust and spoke to an unknown agent. Plaintif`f informed
SunTrust’s agent that she would appreciate if` SunTrust would stop calling her cellular

telephone as she currently does not have a job or the money to pay SunTrust.

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23. As of` April 2017, Plaintiff unequivocally revoked any and all express
permission SunTrust might have thought it possessed, to place automated calls to
Plaintiff’s cellular telephone.

24. On or about June 3'd, 2017, Plaintiff answered another automated call to
her cellular telephone from SunTrust and spoke to another unknown agent. Plaintiff again
informed SunTrust that she would appreciate it if SunTrust would stop calling her
cellular telephone and that she currently was unemployed with no money to pay
SunTrust.

25. On or about the week of` June Su', 2017, Plaintiff answered another
automated call to her cellular telephone from SunTrust and spoke to another unknown
agent. Plaintiff again reiterated her previous requests for SunTrust to stop calling her
cellular telephone.

26. On many occasions when Plaintiff would speak to SunTrust’s agents, after
requesting a cessation of calls, said agents would respond that while they were sorry to
hear about Plaintiff"s situation, they needed to keep her informed as to the matter at hand.
SunTrust’s agents never offered, or suggested, that they would cease calling Plaintiff as
per her wishes.

27. Due to the tremendous amount of` automated calls Plaintiff received from
Def`endant, as well as the length of time in which she was receiving said automated calls,
Plaintiff was unable to properly document each and every automated call she received
from Def`endant, however attached hereto as Exhibit “A” is a small sampling of some of`

the automated calls Plaintiff received to her cellular telephone from SunTrust.

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28. SunTrust has a corporate policy to usc an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s
cellular telephone in this case.

29. SunTrust has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in
this case, with no way for the consumer, Plaintiff, or SunTrust, to remove the number.

30. SunTrust’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to SunTrust they wish for
the calls to stop.

3l. SunTrust has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

32. SunTrust has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to call despite requested to stop.

33. SunTrust has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers

34. SunTrust’s corporate policy provided no means for Plaintiff to have her
number removed from Defendant’s call list.

35. SunTrust has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called.

36. Not a single call placed by SunTrust to Plaintiff were placed for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

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37. SunTrust willfully and/or knowingly violated the 'I`CPA with respect to
Plaintiff.

38. From each and every call placed without consent by SunTrust to
Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon her right of seclusion.

39. From each and every call without express consent placed by SunTrust to
Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of her cellular telephone
line and cellular phone by unwelcome calls, making the phone unavailable for legitimate
callers or outgoing calls while the phone was ringing from SunTrust’s calls,

40. From each and every call placed without express consent by SunTrust to
Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.
For calls she answered, the time she spent on the call was unnecessary as she repeatedly
asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to
unlock the phone and deal with missed call notifications and call logs that reflected the
unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular
phone, which are designed to inform the user of important missed communications

41. Each and every call placed without express consent by SunTrust to
Plaintist cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.
For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering
them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

with missed call notifications and call logs that reflected the unwanted calls. This also

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impaired the usefulness of these features of Plaintiff"s cellular phone, which are designed
to inform the user of important missed communications

42. Each and every call placed without express consent by SunTrust to
Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell
phone’s battery power.

43. Each and every call placed without express consent by SunTrust to
Plaintiffs cell phone where a voice message was left which occupied space in Plaintiffs
phone or network.

44. Each and every call placed without express consent by SunTrust to
Plaintiff’s cell phone resulted in the injury of a trespass to Plaintist chattel, namely her
cellular phone and her cellular phone services.

45. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by difficulty
sleeping, anxiety, and high blood pressure.

w
(Violation of the TCPA)

46. Plaintiff fully incorporates and realleges paragraphs one (l) through forty-
five (45) as if fully set forth herein.

47. SunTrust willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintif`f’s cellular telephone after Plaintiff
notified SunTrust that she wished for the calls to stop.

48. SunTrust repeatedly placed non-emergency telephone calls to Plaintiff`s

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

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voice without Plaintiff's prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against SunTrust for statutory damages, punitive damages, actual
damages, treble damages, enjoinder from further violations of these parts and any other
such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

49. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-
five (45) as if fully set forth herein

50. At all times relevant to this action SunTrust is subject to and must abide
by the laws of the State of Florida, including Florida Statute § 559.72.

51. SunTrust has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

52. SunTrust has violated Florida Statute § 559.72(7) by willfully engaging in
other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

53. SunTrust actions have directly and proximately resulted in Plaintiff`s prior
and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against SunTrust for statutory damages, punitive damages, actual

damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

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any other such relief the court may deem just and proper.

 

 

  
 

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